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    11 Electronics Co., Ltd.
    12
    13                      UNITED STATES DISTRICT COURT
    14                     CENTRAL DISTRICT OF CALIFORNIA
    15
    16 NETLIST INC., a Delaware corporation,            CASE NO. 8:20-cv-00993-MCS-ADS
    17             Plaintiff,                           DEFENDANT SAMSUNG
                                                        ELECTRONICS CO., LTD’S
    18       vs.                                        NOTICE OF MOTION AND
                                                        MOTION FOR SUMMARY
    19 SAMSUNG ELECTRONICS CO.,                         JUDGMENT OR IN THE
       LTD., a Korean corporation,,                     ALTERNATIVE, PARTIAL
    20                                                  SUMMARY JUDGMENT
                   Defendant.
    21                                                  Date: September 20, 2021
                                                        Time: 9:00 a.m.
    22                                                  Crtrm.: 7C
    23                                                  Assigned to Hon. Mark C. Scarsi
                                                        Courtroom 7C
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     1                                    NOTICE OF MOTION
     2 TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
     3         PLEASE TAKE NOTICE that on September 20, 2021, at 9:00 a.m., or as
     4 soon thereafter as this matter may be heard, in Courtroom 7C of the United States
     5 District Court for the Central District of California, located at 350 W. 1st Street, Los
     6 Angeles, CA 90012, Defendant Samsung Electronics Co. Ltd. (“Samsung”) will and
     7 hereby does move this Court for summary judgment, or in the alternative partial
     8 summary judgment, in its favor and against Netlist Inc. (“Netlist”) pursuant to Rule 56
     9 of the Federal Rules of Civil Procedure on the ground there is no genuine issue as to
    10 any material fact and the moving party is entitled to judgment as a matter of law.
    11         This Motion is based upon this Notice of Motion and Motion, the
    12 accompanying Memorandum of Points and Authorities, the Statement of
    13 Uncontroverted Facts and Conclusions of Law, the accompanying Declaration of Joyce
    14 J. Choi and exhibits, the record of this proceeding to date, and any and all evidence that
    15 may be presented at the hearing of this matter.
    16         This motion is made following a conference of counsel pursuant to Local Rule
    17 7-3, which took place on August 7, 2021.
    18 DATED: October 21, 2021                    Bird, Marella, Boxer, Wolpert, Nessim,
                                                  Drooks, Lincenberg & Rhow, P.C.
    19
    20
    21                                            By:
    22                                                              Ekwan E. Rhow
                                                        Attorneys for Defendant Samsung
    23                                                  Electronics Co., Ltd.
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     1 I.            INTRODUCTION
     2               The Complaint in this action marks the first time that Netlist disclosed its now-
     3 alleged interpretation of Section 6.2 of the Joint Development and License Agreement
     4 (“JDLA”) – namely that Samsung was required to supply all chips that it requested for
     5 all of its DRAM and NAND needs, including beyond the joint development work
     6 contemplated therein. For the five years prior while Samsung was performing, Netlist
     7 never once described the JDLA in the manner it now alleges despite the fact that, as
     8 Netlist CEO Chuck Hong recently declared, this supposedly broad supply arrangement
     9 was “crucial” and “critical” to its business. SUF 39.
    10               In every single 10-K certified to the SEC and Netlist’s public shareholders since
    11 the JDLA was signed, Netlist never once described it as a supply contract, instead
    12 stating unequivocally and repeatedly that Netlist does not have “any long term supply
    13 contracts.” In press releases touting the JDLA, Netlist makes no mention of the
    14 supposedly “crucial” supply provisions but instead touts the “long term partnership”
    15 focused on the development of a potential new standard and product–NVDIMM-P. In
    16 Netlist board presentations and resolutions, Netlist failed to mention to its own board
    17 the JDLA had solved its “critical” supply shortage issues. In other words, prior to this
    18 dispute and when obligated to be accurate to the SEC, its shareholders, and its board,
    19 Netlist never once described the JDLA as it now alleges here. That is because Netlist’s
    20 interpretation of Section 6.2 is contrived.
    21               The manufactured nature of Netlist’s interpretation is further established by the
    22 contract negotiation documents and Chuck Hong’s deposition admissions regarding
    23 the same. The only other document the parties ever jointly signed was the
    24 Memorandum of Understanding (“MOU”) related to the JDLA. Chuck Hong admitted
    25 this MOU was designed to capture all important terms that would be included in the
    26 JDLA. If supply was “critical” as Chuck Hong now says, it would have been included
    27 in the MOU. But as he admitted, the MOU contained no such provision, instead
    28 providing for supply by Samsung if and to the extent the NVDIMM-P product that
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  1 was the subject of the JDLA was ever commercialized. SUF 30. But it never was, which
  2 meant Samsung never became obligated to supply any chips.
  3         This evidence of intent is dispositive and undisputed. And Netlist cannot evade
  4 the MOU because Netlist’s in-house attorney during negotiations on the JDLA
  5 confirmed Section 6.2 of the JDLA needed to conform with the MOU – the same
  6 MOU that Chuck Hong confirmed did not contain any obligation to supply all chips
  7 requested for all products. Summary judgment can be granted on this evidence alone.
  8         But, even absent such evidence, Samsung should still prevail as the parties’
  9 subsequent course of conduct rebuts any notion of a guaranteed supply. Chuck Hong
 10 and his brother, Paik Ki Hong, who is Netlist’s Vice President of Worldwide
 11 Operations, both confirmed in their recent declarations to this Court that Samsung
 12 fully performed under the JDLA in 2015, 2016 and into 2017. Yet they also confirmed
 13 in deposition that during that exact same time period, Samsung regularly did not fulfill
 14 all of Netlist’s chip orders. As explained by both, this is simply a “reality” of the
 15 memory industry, which functions like any other commodity industry with buyers vying
 16 for limited supply and where allocation is the norm. This means that, contrary to
 17 Netlist’s interpretation of the JDLA, it was never intended that Samsung could or
 18 would supply all chips that Netlist requested.
 19         The better explanation for the parties’ course of conduct is that Netlist’s
 20 purchases in 2015 and thereafter were not pursuant to the JDLA but simply followed
 21 the practice of buying chips that Netlist had been following between 2000 and 2015 in
 22 which it had purchased more than $10 million per year on average from Samsung.
 23 Under that “industry norm” protocol, Netlist would provide forecasts, inquire about
 24 supply, obtain an allocation of available chips and then submit purchase orders.
 25 Notably, after the JDLA was executed and even after it was purportedly terminated,
 26 this exact same protocol continued and Netlist accepted the fact it was not receiving all
 27 the chips it wanted – establishing by conduct that Netlist did not believe the JDLA
 28 required Samsung to supply all of the chips it requested.

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  1          Netlist’s alleged breach relating to tax withholdings suffers from a similar lack of
  2 disputed evidence undermining Netlist’s allegation. It is undisputed that Netlist’s CFO
  3 Gail Sasaki signed a tax form prior to execution of the JDLA, and after independently
  4 consulting with Netlist’s tax professionals, that required withholdings. As Chuck Hong
  5 confirmed, Sasaki had authority to do so and would have done all necessary
  6 investigation prior to doing so. After this tax was withheld, Netlist had second thoughts
  7 and demanded the withholdings be released. Samsung cooperated to the extent it could
  8 but was not willing to simply adopt Netlist’s tax position. Samsung’s position was not
  9 unreasonable given Netlist’s CFO had herself adopted a similar position. In any event,
 10 Netlist ultimately obtained a full refund with interest, negating its claim for damages.
 11          Putting aside whether Netlist’s interpretation of the JDLA is reasonable, Netlist’s
 12 delay in bringing both its supply and tax-related breaches begs the question: why did
 13 Netlist file its complaint after years of supposedly repeated non-performance? The
 14 answer is simple: by terminating the JDLA and the cross-licenses contained therein,
 15 Netlist can set up a patent infringement claim which as its 10-K discloses, is part of its
 16 long-standing business plan to monetize its intellectual property through litigation.
 17 Such strategic maneuvering, however, cannot replace the clear terms of the JDLA and
 18 sidestep the undisputed evidence that has been uncovered. Summary judgment should
 19 be granted in Samsung’s favor.
 20 II.      ARGUMENT
 21          A.     The Best Evidence For Contract Interpretation Are the Writings
                    That the Parties Signed
 22
             Under New York law, which governs pursuant to the choice of law provision in
 23
      the JDLA, “[t]he best evidence of what parties to a written agreement intend is what
 24
      they say in their writing.” Slamow v. Del Col, 79 N.Y.2d 1016, 1018 (1992). “Thus, a
 25
      written agreement that is complete, clear and unambiguous on its face must be
 26
      enforced according to the plain meaning of its terms.” Greenfield v. Philles Recs., Inc., 98
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      N.Y.2d 562, 569 (2002). Where the contractual language is ambiguous, “extrinsic
 28

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  1 evidence as to the parties’ intent may properly be considered.” JA Apparel Corp. v.
  2 Abboud, 568 F.3d 390, 397 (2d Cir. 2009). Such extrinsic evidence may include the
  3 parties’ course of performance under a contract, which is compelling extrinsic evidence
  4 of the parties’ intent. Fed. Ins. Co. v. Americas Ins. Co., 258 A.D.2d 39, 44 (1999) (“the
  5 parties’ course of performance under the contract is considered to be the most
  6 persuasive evidence of the agreed intention of the parties.”). Evidence of contracting
  7 parties’ negotiations may also be admissible to prove the meaning of an ambiguous
  8 contract term. Rudman v. Cowles Commc’ns, Inc., 30 N.Y.2d 1, 11 (1972) (“the court may
  9 and should look to the prior negotiations to determine what was intended.”).
 10         B.     Samsung Is Entitled to Judgment on Plaintiff’s First Cause of
                   Action for Breach of Contract (Supply)
 11
            Netlist’s first cause of action alleges that Samsung breached a promise to supply
 12
      it with all NAND and DRAM at Netlist’s request. Samsung is entitled to summary
 13
      judgment on this claim because (1) the supply obligation in Section 6.2 is limited to the
 14
      NVDIMM-P joint development project, (2) Section 6.2 does not contain a definite or
 15
      ascertainable quantity term necessary to create an enforceable supply obligation, and (3)
 16
      Netlist cannot show that it fully performed its obligations under the contract.
 17
                   1.       Section 6.2 Is Limited To the Supply And Pricing Of
 18                         Components For The Joint Development Project
 19         The express terms of the JDLA and the extrinsic evidence show that Samsung’s
 20 promise in Section 6.2 was limited to the supply and pricing of NAND and DRAM
 21 products for the NVDIMM-P joint development project. Section 6.2 does not create a
 22 long-term supply contract for existing products or requirements outside of the joint
 23 development context. The JDLA, including Section 6.2, must initially be construed in
 24 the context of the long-standing business relationship between the parties.
 25                      a.    The Parties’ Long Standing Business Relationship
 26                            Involved $200 Million of Purchases Over 15 Years
 27         Netlist has been a customer of Samsung since at least 2001, purchasing over
 28 $200 million of NAND and DRAM products. SUF 1. Both before and after the JDLA,

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  1 Samsung has been a significant and continuous supplier of NAND and DRAM to
  2 Netlist, as reflected in Netlist’s annual reports. SUF 2. In addition to purchasing
  3 memory products from Samsung, Netlist also purchased NAND and DRAM products
  4 from SK Hynix and Micron, as well as from sellers who purchased the products from
  5 the manufacturers for resale. SUF 3.
  6         The DRAM and NAND industry functions like other commodity industries,
  7 such as crude oil. It has three primary suppliers – Samsung, SK Hynix and Micron.
  8 Dkt. 89-21 at ¶ 6. The amount of NAND and DRAM product that the overall market
  9 can supply is limited and demand for products exceeds available supply. SUF 4.
 10 Accordingly, Netlist, like other customers, would provide Samsung with advance
 11 forecasts of the amount of product it wishes to purchase, and Samsung would then let
 12 Netlist know how much product it could allocate and make available to Netlist to
 13 purchase. SUF 5. Following these discussions regarding allocations and availability,
 14 Netlist would issue purchase orders for specific amounts of product that Samsung had
 15 approved. SUF 6. Samsung accepted and fulfilled some of the purchase orders, put
 16 some on backlog, and rejected others, just as it did with other customers. SUF 7. The
 17 practice of forecasts, purchase orders, allocations and backlogs are “industry norms”
 18 according to Chuck Hong and continued after the JDLA was executed. SUF 4, 8.
 19                       b.      The JDLA Involved Joint Development of a “Game
                                  Changing” Product Based On the NVDIMM-P
 20                               Standard
 21         In early 2015, Netlist approached Samsung to discuss a strategic partnership
 22 involving, among other things, joint development of a product based on a new
 23 standard called NVDIMM-P and licensing of Netlist’s patents. SUF 9. The NVDIMM-
 24 P-related product was a “game changer” according to Chuck Hong and, based on
 25 presentation materials, was designed to take market share in a $15 billion industry. SUF
 26 10. At that time, Netlist also raised a licensing aspect which was a subtle threat by
 27 Netlist of a potential claim for infringement of its LRDIMM patents and designed to
 28 convince Samsung to agree to the joint development route. SUF 11.

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  1          On November 12, 2015, after months of negotiations, Samsung and Netlist
  2 entered into the JDLA. SUF 13. The structure and terms of the JDLA reflect the
  3 express purpose of the contract, which as the recitals in the preamble indicate, is for
  4 the parties “to work together to jointly develop an interface and associated technologies
  5 for certain memory modules and promote such interface to standards-setting
  6 organizations,” and grant each other licenses for intellectual property. SUF 14, 16. The
  7 JDLA defines the “Developed Product” to be a “NVDIMM-P Product developed by
  8 the Parties hereunder pursuant the Statement of Work that meets the Product
  9 Specifications.” SUF 15. The JDLA also includes a grant of cross-licenses and a release
 10 of threatened claims. SUF 16.
 11          The JDLA states Netlist was to receive $8 million for non-recurring engineering
 12 on the NVDIMM-P development work, and concurrently with the JDLA, Samsung
 13 provided an additional $15 million convertible loan at 2% interest that allowed Netlist
 14 to pay off existing debt with less favorable financial terms.1 SUF 17. In addition to its
 15 receipt of cash and financing from Samsung, Netlist would generate significant profits
 16 and obtain market share if the parties were able to develop this “game changing”
 17 standard for NVDIMM-P and produce a commercially feasible product under this new
 18 standard. SUF 18.
 19          The JDLA seeks to implement these objectives, including terms for the
 20 collaborative NVDIMM-P development work, development milestones and a
 21 Statement of Work (Section 2, Appendices A and B); development costs (Section 3);
 22 IPR ownership (Section 4); schedule for standardization and productization (Section 5);
 23 supply of components for the joint development work (Section 6); a mutual release of
 24 claims (Section 7); and licensing of intellectual property (Section 8). SUF 19.
 25
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      1
          Netlist was having cash flow issues which explains its overall approach. SUF 12.

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  1                         c.      Section 6.2 Is Limited To Joint Development Work
                                    Under The JDLA
  2
            The Court should construe the meaning of Section 6.2 in light of the JDLA as a
  3
      whole, rather than attempt to give meaning to those words outside of the context of
  4
      the agreement. Westmoreland Coal Co. v. Entech, Inc., 100 N.Y.2d 352, 358 (2003) (“The
  5
      meaning of a writing may be distorted where undue force is given to single words or
  6
      phrases”). Taken as a whole, the JDLA is an agreement for NVDIMM-P joint
  7
      development and cross-licensing of intellectual property, as its terms, structure and title
  8
      expressly show.
  9
            Section 6 of the JDLA, entitled “Supply of Components,” includes mutual
 10
      promises regarding the supply and pricing of components in connection with the
 11
      NVDIMM-P joint development project. SUF 20. Section 6.1 states: “Supply by Netlist.
 12
      Netlist will provide Samsung any NVDIMM-P controller on Samsung’s request at a
 13
      price lower than the price Netlist provides to any other buyer.” Id. As the NVDIMM-P
 14
      product did not exist, Netlist was not required to supply anything yet.
 15
            Section 6.2 is the parallel provision and, if interpreted consistently with the
 16
      remainder of Section 6 and the JDLA as a whole, was focused on providing supply for
 17
      the NVDIMM-P product that was being developed. It states: “Supply by Samsung.
 18
      Samsung will supply NAND and DRAM products to Netlist on Netlist’s request at a
 19
      competitive price (i.e., among customers purchasing similar volumes of similar
 20
      products).” SUF 20. Based on the testimony of Chuck Hong, Netlist’s 30(b)(6) witness
 21
      on the JDLA’s negotiations, this supply obligation would arise only if and to the extent
 22
      the NVDIMM-P product was commercialized. SUF 21. This also makes sense in the
 23
      context of the overall joint development whereby Netlist had expertise with the
 24
      controller of the NVDIMM-P product while Samsung had the NAND and DRAM
 25
      supply necessary for the NVDIMM-P product.
 26
            Viewing the JDLA as a whole, the express terms of Section 6.2 were limited to
 27
      the supply and pricing of NAND and DRAM components that Netlist requested for
 28

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  1 the NVDIMM-P joint development. Section 6.2 has nothing to do with Netlist’s
  2 requests for product outside of the joint development, which was covered by the
  3 parties’ prior course of conduct which continued after the JDLA was executed. This
  4 reading is consistent with the express terms of the contract, the negotiating history,
  5 Netlist’s admissions, and the parties’ course of dealing. Netlist’s contrary interpretation
  6 is inconsistent with the uncontroverted material facts.
  7                       d.      The Negotiating History Shows That Section 6.2 Is
                                  Limited To Joint Development
  8
            Extrinsic evidence from the negotiations of this supply and pricing provision
  9
      through drafts of the term sheet, Memorandum of Understanding, and the JDLA
 10
      evince the parties’ intent that Samsung was agreeing to supply the necessary raw
 11
      materials only for the NVDIMM-P joint development project at a competitive price.
 12
      Bird v. Computer Technology, Inc., 364 F. Supp. 1336, 1343 (S.D.N.Y.1973) (“the Court
 13
      may look to prior negotiations to determine what was intended.”). There is no evidence
 14
      Netlist asked Samsung during these negotiations to commit to a broader supply
 15
      contract covering its needs for existing products and requirements, and no evidence
 16
      Samsung ever agreed to any such term.
 17
            Chuck Hong testified Netlist’s first proposal to Samsung in April 2015 focused
 18
      on the cash consideration and did not mention a long term supply agreement. SUF 22.
 19
      When Netlist sent Samsung the first draft of the term sheet on April 21, 2015, Netlist
 20
      proposed, as part of the “Joint development and marketing” for the “Technology
 21
      Collaboration,” that Samsung supply “Flash” (which means NAND) and “DRAM” for
 22
      the NVDIMM-P-related product. 2 SUF 23.
 23
            When the parties moved into negotiations of a term sheet, Netlist drafted a
 24
      section entitled “Technology Collaboration” and proposed a subsection entitled “Raw
 25
 26   2
       The HVDIMM product (sometimes referred to as “HV” or “HyperDIMM” in the
 27 term sheets and elsewhere) would incorporate the proposed new NVDIMM-P standard
 28 the parties were supposed to work on under the JDLA. SUF 23.

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  1 Materials: Samsung will supply NAND, DRAM on mutually agreed terms.” SUF 24,
  2 25. Chuck Hong testified unequivocally that the supply obligation Netlist is alleging
  3 here was not contained therein. Instead, he conceded the supply section applied only
  4 to NVDIMM-P if and when it was ever commercialized: “Q. And so those were raw
  5 materials that were provided in connection with commercialization of the dash P
  6 product; correct? A. That’s correct.” SUF 26. In subsequent drafts of the term sheet,
  7 Netlist continued to express this clear understanding that Samsung’s supply obligations
  8 would only arise if and to the extent the NVDIMM-P standard and products were ever
  9 commercialized—which never occurred. SUF 27-29.
 10         Chuck Hong testified that his intent during the contract negotiations was to get
 11 Samsung’s commitment to supply NAND and DRAM products for the NVDIMM-P
 12 product so Netlist would have sufficient supply if and when it was able to
 13 commercialize the technology. SUF 30. According to Chuck Hong, the NVDIMM-P
 14 was “industry changing” technology and its attempt to standardize a NVDIMM-P
 15 product was a significant business opportunity and Netlist had invested more than
 16 $10M in engineering costs. SUF 31. That is why Netlist put that “raw material”
 17 language in the term sheet under Technology Collaboration and Productization for the
 18 NVDIMM-P initiative. SUF 24-29. After exchanging additional drafts, the parties
 19 signed a final MOU that was intended to reflect all important deal terms. SUF 32.
 20 Section 6 of the MOU states:
 21         6. Most Favored Nation (MFN): Netlist will provide Samsung any
 22         NVDIMM-P* controller at a price lower than the price Netlist provides
 23         to any other buyer. Either party may produce NVDIMM-P controller
 24         using its own technology and has no obligation to buy from the other
 25         party. Raw Materials: Samsung will provide competitive pricing (i.e. among customers
 26         purchasing the same products and similar volumes) for the supply of Samsung NAND
 27         and DRAM products. (emphasis added.) SUF 32.
 28         As to the MOU, Chuck Hong again admitted this language limited Samsung’s

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  1 supply obligation to the NVDIMM-P development and this obligation would arise only
  2 if and to the extent the NVDIMM-P product “ever became commercialized.” SUF 32.
  3 Thus, according to Chuck Hong’s repeated testimony and the undisputed terms of the
  4 MOU, the parties expressly agreed the MOU did not contain the supply obligation that
  5 Netlist is now alleging.
  6         Netlist cannot now evade the MOU as, during the negotiations of the JDLA,
  7 Netlist’s in house attorney made clear the MOU was the sole basis for what became
  8 section 6 of the JDLA. On October 8, 2015, when the parties began drafting the JDLA
  9 from the MOU, Samsung proposed the following language to Netlist:
 10         6.2 Supply by Samsung. Samsung will supply NAND and DRAM to
 11         Netlist on Netlist’s request at a competitive price similar to the customers
 12         purchasing similar volumes of similar products. For the avoidance of
 13         doubt, any of the provisions under this Agreement will not be deemed to
 14         require Netlist to purchase any products from Samsung or to require
 15         Samsung to supply any products to Netlist. SUF 33.
 16         On October 14, 2015, Netlist replied to Samsung, forwarding an email from
 17 Noel Whitley (Netlist’s in-house counsel and VP of IP & Licensing) with his comments
 18 on the JDLA. SUF 34, 35. As to the new Section 6.2 of its proposed JDLA, Whitley
 19 wrote in all bold that this language “Conflicts with MOU” and that “Samsung states
 20 that nothing in this agreement will ‘require Samsung to supply any products to Netlist.’
 21 Netlist removed this qualification and returned the language to reflect what was agreed
 22 to in the MOU.” SUF 35. Samsung agreed to this change. Id.
 23         The MOU’s intent is clear based on Chuck Hong’s testimony and Netlist’s
 24 statements at the time. Under that MOU, the supply of NAND and DRAM as raw
 25 materials was limited to the NVDIMM-P joint project. SUF 32. That intent was carried
 26 forward into the terms of Section 6.2, which refers to the supply of components for the
 27 NVDIMM-P-related product. Indeed, when Samsung asked to add language stating it
 28 was not required to supply NAND and DRAM at all, Netlist rejected this addition and

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  1 demanded they revert to the MOU – namely, supply of raw materials for joint
  2 development of the NVDIMM-P standard and product. SUF 36.
  3          Netlist CEO Chuck Hong admitted this repeatedly during his deposition. He
  4 testified Netlist wanted Samsung’s assurance that it would supply NAND and DRAM
  5 to support “game-changing” NVDIMM-P sales if the joint development proved
  6 successful, and demand for the product took off. SUF 26, 28, 30, 31, 32, 37. Thus, the
  7 JDLA was never about ensuring Netlist a supply of product for its other requirements
  8 beyond the joint development; the mutual supply provisions were in connection with
  9 and limited to the joint development.
 10          Netlist’s CFO Gail Sasaki made this intent clear when she characterized the
 11 MOU during the discussions regarding the drafting of the JDLA, telling Samsung:
 12 “Both sides understood from the outset that this was a strategic deal, not a financial
 13 one. The value that would be transferred and created resided in the patents and the technology.”
 14 (emphasis added.) SUF 38. If a supply agreement was the key consideration for Netlist
 15 in the deal (as Netlist now claims), Sasaki surely would have mentioned it. That she did
 16 not is further compelling evidence that Netlist understood the deal did not include an
 17 agreement to supply anything beyond what was necessary for the joint development
 18 project and only to the extent the NVDIMM-P was commercialized. 3
 19                          e.      Netlist Admits The JDLA Is Not A Contract to Supply
                                     DRAM and NAND Beyond Joint Development
 20
             While Netlist asserts in this litigation the JDLA is a supply contract, Netlist has
 21
      repeatedly admitted that the JDLA is not, in fact, a supply contract that extends to
 22
      Netlist’s other requirements and requests.
 23
             While the exact language has changed over the years, Netlist has repeatedly and
 24
      consistently disclosed the risks associated with not having a long-term supply contract
 25
 26   3
       It is not disputed that Netlist got the chips it needed for its initial development
 27 work and that the NVDIMM-P product was never commercialized. SUF 46, 47. Thus,
 28 Samsung’s obligation to supply DRAM and NAND was never triggered.

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  1 for DRAM and NAND in its annual reports before 2015. SUF 43. But in its first 10-K
  2 after the JDLA was executed, Netlist continued to state that Netlist had “no long-term
  3 supply contracts” for these products. SUF 42.4 This is no mere boilerplate disclosure of
  4 risk. Netlist said it had no long term supply contracts for DRAM and NAND in the
  5 very same section that it described its contract with and purchases from Samsung. Id.
  6 By contrast, in 2021, when Netlist entered into an actual supply contract with SK
  7 Hynix, it disclosed that the supply contract “entitles Netlist to purchase up to
  8 $600,000,000 of SK Hynix memory products during the term . . .” SUF 40.
  9         Netlist management’s presentation of the JDLA to its Board of Directors in
 10 November 2015 confirms this understanding. Chuck Hong’s presentation to the Board,
 11 prepared by Netlist CEO Gail Sasaki, describes the technology collaboration and the
 12 cross-licensing of patents. SUF 41. No mention is made of the JDLA being a supply
 13 agreement for all of its existing DRAM and NAND requirements, which Chuck Hong
 14 now declares to be “crucial” and “critical.” SUF 39, 41. This clearly would have been
 15 material to the Board had there been such a contract.
 16         While Netlist disclaimed in its 10-K disclosures that the JDLA was a long-term
 17 supply agreement, Netlist proclaimed in its press release what the JDLA was in fact a
 18 “strategic alliance” and “long term partnership” focused on development of a “new
 19 class of NVDIMM-P.” SUF 44. No mention is made that Netlist has been given a
 20 supply agreement for all of its existing products and requirements. Id.
 21         Netlist’s public filings, press releases, and Board materials are consistent with its
 22 statements to Samsung in the period before any dispute arose. Netlist’s understanding
 23
 24
      4
          Netlist’s 2015 10-K states: “Our ability to fulfill customer orders or produce
      qualification samples is dependent on a sufficient supply of field programmable gate
 25   arrays (“FPGAs”), DRAM ICs and NAND flash, which are essential components of
 26   our memory subsystems. There are a relatively small number of suppliers of FPGAs,
      DRAM ICs and NAND flash, and we purchase from only a subset of these suppliers.
 27   We have no long ‑term FPGA, DRAM or NAND flash supply contracts. ”
 28   (emphasis added ) SUF 42. All subsequent Netlist’s 10-Ks attest to the same. SUF 43.

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  1 that the JDLA was not a supply agreement for all of its existing needs and products is
  2 evident by Netlist’s continued efforts to obtain a supply agreement in the years
  3 following the JDLA, long before it sought to terminate the contract. In February 2017,
  4 Netlist met with Samsung to request a “New Partner Type” that would actually require
  5 Samsung to provide “Product Allocation support for Netlist” and an “Official-
  6 Distributor Partnership Agreement.” SUF 45. Netlist understood the JDLA did not
  7 guarantee it the product allocation or supply it wanted; otherwise it would not have
  8 proposed a new business relationship 18 months later, before there was any dispute
  9 under the JDLA. Indeed, when Netlist made this ask, Samsung told Netlist the JDLA
 10 was not an avenue to support Netlist’s standard products. Id.
 11          In sum, Netlist’s repeated statements in its SEC filings, characterization of the
 12 JDLA to its own Board, and subsequent asks of Samsung show Netlist did not believe
 13 the JDLA was a supply contract in the manner it now alleges. This compelling evidence
 14 is uncontroverted and directly contradicts Netlist’s position in this litigation.
 15                        f.      The Parties’ Course of Conduct Shows Samsung Had
                                   No Obligation To Supply All Chips At Request
 16
             The parties’ performance in the pre-litigation period, particularly in the first two
 17
      years following the JDLA, shows neither party intended Section 6.2 to create an
 18
      obligation for Samsung to supply all of Netlist’s requests for Samsung’s NAND and
 19
      DRAM products. Webster’s Red Seal Publications, Inc. v. Gilberton World-Wide Publications,
 20
      Inc., 67 A.D.2d 339, 341 (1979) (actual performance is the “most persuasive evidence of
 21
      the agreed intention of the parties”).
 22
             As to the development work, it is not disputed that Netlist received all of the
 23
      chips it needed. SUF 46. And given the NVDIMM-P product was never
 24
      commercialized, Samsung’s duty to provide further chips was never triggered. SUF 47.
 25
             For Netlist’s other needs outside the JDLA, Samsung continued to supply
 26
      Netlist with NAND and DRAM in the same manner as it had done before. SUF 52.
 27
      Samsung’s sales to Netlist have continued from 2001 to the present day, according to
 28

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  1 the same course of dealing that existed before the JDLA, after the JDLA, and that
  2 continues to this day even after Netlist purported to terminate the JDLA and filed this
  3 lawsuit. SUF 53. This consistent course of dealing before and after the JDLA provides
  4 strong evidence Netlist understood the JDLA did not guarantee it access to all of the
  5 Samsung product it requested, but only the product Samsung actually agreed to sell
  6 based on the parties’ historical course of dealing. SUF 54; Studley v. Nat’l Fuel Gas Supply
  7 Corp., 107 A.D.2d 122, 128 (1985) (following “the established rule that the practical
  8 construction put upon a contract by the parties in performing under it is of great
  9 importance in determining its meaning”).
 10         Based on their prior course of dealing and industry norms, Netlist and Samsung
 11 operated using advance forecasts, supply inquiries, purchase orders, limited allocations
 12 and backlogs. SUF 52-56. Prior to 2015, Samsung often could not supply Netlist’s
 13 requested amount or any amounts. SUF 53. And this practice continued after the
 14 JDLA. SUF 49. For example, on April 6, 2016, less than six months after the JDLA,
 15 Raymond Jiang of Netlist wrote to Neal Knuth of SSI in hopes of buying more
 16 NAND: “I know it’s insane but want to see try our luck...I know it’s not something
 17 easy or possible, but want to give it try. Please let me know if any of these can be
 18 found.” SUF 49 at NL039163-64. Knuth responded the next day: “No bid.” Id. To
 19 provide just one more example of many, on December 14, 2016, Jiang asked Knuth:
 20 “How possible is it for you to get us 2100pcs of this DDR … DRAM?” Knuth replied:
 21 “Straight from SEC: we cannot support. Securing any additional stock and Product
 22 Allocation is not possible.” SUF 49 at NL024952.
 23         The fact Samsung could not fulfill all of Netlist’s orders was not a breach of the
 24 agreement. As both Chuck Hong and Paik Ki Hong admitted as Netlist’s 30(b)(6)
 25 witnesses and in their prior declarations, Samsung’s performance was satisfactory in
 26 2015, 2016 and into 2017. SUF 48. But in those same years, the order history and their
 27 testimony establishes Samsung regularly did not fulfill orders. SUF 49. Chuck Hong
 28 admitted this was “reality” and that allocations in the fixed supply DRAM/NAND

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  1 industry were “industry norms.” SUF 49 (Exh. 7, Chuck Hong Dep.). Given the
  2 industry involves a commoditized product with limited supply, Netlist understood it
  3 could not get all chips it requested. 5
  4         What this evidence further shows is Netlist never believed the JDLA contained a
  5 supply component on anything beyond the NVDIMM-P product that had not yet been
  6 developed. Netlist’s course of conduct with Samsung was established for the 15 years
  7 prior to the JDLA and continued even after Netlist purported to terminate the JDLA in
  8 2020. SUF 53. Indeed, Samsung continues to supply chips to Netlist to the present day
  9 based on this very same protocol. Id.
 10         Netlist’s use of purchase orders both before and after the JDLA’s execution
 11 provides another basis to dismiss Netlist’s interpretation of Section 6.2. By their very
 12 terms, Netlist’s purchase orders indicate they constitute new “offers” and supersede
 13 any prior agreements or discussions with Samsung, such as forecasts and informal e-
 14 mail or oral requests to purchase product. SUF 51, 57. Thus, Netlist cannot argue
 15 Samsung was obligated to supply any product beyond the amount reflected in Netlist’s
 16 purchase orders, regardless of any earlier requests. Indep. Energy Corp. v. Trigen Energy
 17 Corp., 944 F. Supp. 1184, 1195 (S.D.N.Y. 1996) (“Prior agreements and negotiations are
 18 deemed to merge and be subsumed in a later written agreement.”).
 19         The end result is that Netlist purchased a substantial amount of NAND and
 20 DRAM from Samsung in each quarter from November 2015 to the present, although
 21 the amounts varied over time. SUF 58. Accordingly, Netlist has no evidence of breach
 22
      5
        What Netlist and Chuck Hong appear to be complaining about is that the allocation
 23 to Netlist changed after Hong’s close friend, YH Jun, who was President of Samsung’s
 24 memory division, moved to a separate company in 2017. Choi Decl. Exh. 7 at 119:6-
    120:7. Up until that point, Chuck Hong had been able to use this relationship to “push
 25 through” certain orders and obtain red-carpet treatment. Id. Such treatment ended in
 26 2017 when his friend moved. Id. Thereafter, Samsung continued to supply chips but
    not with the same level of attention that Netlist had previously enjoyed. SUF 52. That
 27 is not a breach of contract. The JDLA and the purchase orders – and not Chuck
 28 Hong’s personal friendships – govern the parties’ obligations.

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  1 of Section 6.2.
  2                       g.      Netlist Did Not Fully Perform Its Obligations
  3         Samsung is also entitled to summary judgment because Netlist did not fully
  4 perform its obligations under the JDLA, and thus cannot prevail on its breach of
  5 contract claim. Cty. of Jefferson v. Onondaga Dev., LLC, 59 N.Y.S.3d 203, 206 (2017)
  6 (“[O]ne of the essential elements of a cause of action for breach of contract is the
  7 performance of its obligations by the party asserting the cause of action for breach[.]”)
  8         Samsung engineer Indong Kim testified Netlist abandoned the NVDIMM-P
  9 standardization project that was a core component of the joint development work
 10 under the JDLA at some point before 2017. SUF 60. There was no written amendment
 11 authorizing Netlist to do so. And Chuck Hong testified that, in 2017, Netlist went its
 12 “separate ways” from Samsung and, instead of continuing work under the NVDIMM-
 13 P protocol, used the foundational development work and moved to a different product
 14 without Samsung. Id.
 15         Even under Netlist’s erroneous theory that the JDLA applied to product outside
 16 of the joint development project, Netlist also failed to perform by cancelling purchase
 17 orders. Chuck Hong testified it would be a breach of the JDLA if a purchase order was
 18 cancelled. SUF 64. While Netlist contends Samsung cancelled orders improperly,
 19 Netlist was forced to admit during depositions that it too cancelled such orders, as it
 20 did with the eMMC purchase orders in the second half of 2017. Id. The evidence
 21 establishes the eMMC orders at issue were a significant ask by Netlist as Samsung did
 22 not normally sell eMMC to customers like Netlist. SUF 61-62. Samsung allocated a
 23 significant amount of eMMC product to Netlist for 2017, much of which had
 24 previously been allocated to another customer. SUF 63. After prices for eMMC
 25 dropped unexpectedly in the second half of 2017, Netlist cancelled half of its eMMC
 26 order. SUF 64. If Netlist contends the failure to fulfill all purchase orders is a breach of
 27 the JDLA, Netlist’s own cancellation of any purchase orders must also be one. Having
 28 failed to perform under its own interpretation of the JDLA, Netlist cannot prevail on

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  1 its claims for breach.
  2                       h.      Netlist Should Be Estopped From Arguing Its Patent
                                  Licenses Provide Consideration For A Broader Supply
  3                               Obligation
  4         Netlist argued in its prior declarations to this Court that during the course of the
  5 JDLA negotiations, it agreed to accept less monetary consideration in return for a
  6 broader supply promise, and that the consideration it provided in return was a broad
  7 license to its patents. Dkt. 89-21 at ¶¶ 4-5. But this argument is directly contrary to
  8 Netlist’s assertion to the Korean tax tribunal that the license granted in the JDLA was
  9 limited solely to the joint development project, which the tribunal relied upon in ruling
 10 for Netlist. SUF 65. Accordingly, Netlist should be estopped from making that
 11 argument in this case.
 12      Under the equitable doctrine of judicial estoppel, a litigant is barred from
 13 obtaining an advantage by asserting a position in a case, and then later seeking to obtain
 14 an advantage by taking a clearly inconsistent position. Rissetto v. Plumbers & Steamfitters
 15 Local 343, 94 F.3d 597, 600–01 (9th Cir. 1996); Hamilton v. State Farm Fire & Cas. Co.,
 16 270 F.3d 778, 782 (9th Cir. 2001)(doctrine provides for the orderly administration of
 17 justice and dignity of proceedings).
 18         The doctrine of judicial estoppel applies to statements made in prior
 19 administrative proceedings. Rissetto, 94 F.3d at 604, 605; Churchill v. Winter Chevrolet, No.
 20 C-04-0489 JCS, 2005 WL 281170, at *8 (N.D. Cal. Feb. 4, 2005). The doctrine also
 21 applies to foreign proceedings. GT Beverage Co. LLC v. Coca Cola Co., No.
 22 SACV1000209JVSRNBX, 2010 WL 11595832, at *5 (C.D. Cal. Aug. 2, 2010)
 23 (discussing favorable authority on application to foreign proceedings); Rapture Shipping,
 24 Ltd. v. Allround Fuel Trading B.V., 350 F. Supp. 2d 369, 374 (S.D.N.Y. 2004) (plaintiff
 25 estopped based on statements made in a Dutch Court).
 26       “Federal law governs the application of judicial estoppel in federal courts.”
 27 Johnson v. Oregon, 141 F.3d 1361, 1364 (9th Cir. 1998). Courts generally consider three
 28 factors when deciding whether to apply the doctrine. New Hampshire v. Maine, 532 U.S.

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  1 742, 743 (2001). First, courts determine whether “a party’s later position [is] clearly
  2 inconsistent with its earlier position.” Id. Second, courts consider whether a litigant
  3 successfully persuaded a court to accept one position, so that subsequent judicial
  4 acceptance of an incompatible position “would create the perception that either the
  5 first or the second court was misled.” Id. Finally, courts take into account “whether the
  6 party seeking to assert an inconsistent position would derive an unfair advantage or
  7 impose an unfair detriment on the opposing party if not estopped.” Id.
  8         Here, the inconsistency in Netlist’s position is clear. In this case, Netlist asserts
  9 that its grant of patent licenses provides sufficient consideration for a long term supply
 10 obligation. In stark contrast, Netlist argued in its Korean tax appeal that: “the granting
 11 of cross licenses under the [JDLA] is limited to the joint research and development,
 12 and hence in cases where Samsung Electronics uses intellectual property rights of
 13 [Netlist] in the course of its own research and development, it does not constitute
 14 something that can be subject to the [JDLA].” SUF 65. Second, the Korean tax tribunal
 15 relied on Netlist’s position that the license was limited in making its ruling. SUF 66.
 16 And third, Samsung would be prejudiced by Netlist’s assertion of inconsistent positions
 17 here. On the one hand, Netlist is trying to use the Korean tax court decision to show
 18 that Samsung’s withholding was improper. At the same time, Netlist asserts that its
 19 patent licensing provided valuable consideration for a long-term supply agreement.
 20         Accordingly, Netlist should be estopped from asserting a position in this case
 21 that is inconsistent with its position in the Korean tax appeal.6
 22                2.       Section 6.2 Is Too Indefinite To Be A Valid Supply Contract.
 23         As shown, the express terms and extrinsic evidence show that Section 6.2 is
 24 limited to the supply and pricing of DRAM and NAND for joint development. If the
 25
 26   6
        Samsung has consistently taken the position that the main purpose of the JDLA was
 27 patent  licensing, which is why Samsung deducted withholding tax as a royalty. While
    Samsung agrees the licenses are broad, Netlist should not be allowed to argue one thing
 28 to its advantage in Korea and the direct opposite here.

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  1 Court were to find this term ambiguous on this point, Samsung would still be entitled
  2 to summary judgment because Section 6.2 lacks a definite or ascertainable quantity
  3 term. Netlist posits several theories as to how the provision could be sufficiently
  4 definite, either as (1) a contract to supply at request; (2) a requirements contract; or (3)
  5 an options contract. None of these proffered theories provides a sufficiently definite
  6 quantity term that could make Section 6.2 an enforceable supply contract.7
  7                        a.      The Phrase “At Netlist’s Request” Is Not A Definite
                                   Quantity Term
  8
             First, the phrase “at Netlist’s request” in Section 6.2 is too indefinite to state a
  9
      valid quantity term. The phrase neither states a definite quantity nor provides a fixed
 10
      means to determine a volume of product. Mar-Jon Mach. & Tool Co. v. Eastman Kodak
 11
      Co., 534 N.Y.S.2d 47, 48 (1988) (contract of sale must be definite as to the quantity of
 12
      the goods sold, or provide fixed means by which the quantities can be determined).8
 13
      Rather, Netlist’s theory is that it can request any quantity it wants, subject only to the
 14
      implied covenant of good faith and fair dealing that would prohibit Netlist from
 15
      requesting products beyond what it could possibly need for its channel distribution. But
 16
      even as cabined by the implied covenant, there is no enforceable contract, as there was
 17
      no meeting of the minds as to the quantity of product that Samsung would supply.
 18
             Nor is there any basis for the Court to imply a missing quantity term where none
 19
      exists. Vt. Teddy Bear Co. v. 538 Madison Realty Co., 1 N.Y.3d 470, 475 (2004) (“courts
 20
      should be extremely reluctant to interpret an agreement as impliedly stating something
 21
      which the parties have neglected to specifically include”). That is especially true where,
 22
 23
 24
      7
          Samsung does not ask the Court infer the JDLA is any of these species of contract.
      Rather, after conferring with Netlist to understand its theories, Samsung shows why
 25   each theory is insufficient to create a binding supply obligation.
 26
      8
          Contrary to Netlist’s argument, this is not an issue Samsung must raise as an
      affirmative defense under the Statute of Frauds, but rather an element of Netlist’s
 27   breach of contract claim – namely to prove the existence of a valid enforceable
 28   contract. There is no evidence of any agreement (oral or written) as to quantity.

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  1 as here, the parties are sophisticated companies that could be expected to have
  2 negotiated a quantity term had they chosen to do so. Ashwood Capital, Inv. v. OTG
  3 Mgmt., Inc., 99 A.D.3d 1, 7 (2012). Moreover, there is no objective method for the
  4 Court to imply a quantity term here.
  5                       b.      The JDLA Is Not A Requirements Contract
  6         Second, Section 6.2 cannot be a valid requirements contract. The JDLA does not
  7 contain any promise by Samsung to supply products to meet Netlist’s requirements or
  8 needs, and Netlist has no obligation to purchase any quantity of product from Samsung
  9 whatsoever. There can be no requirements contract without a commitment from
 10 Netlist to buy exclusively from Samsung, or at the very least, a commitment to buy a
 11 minimum quantity or percentage of its requirements exclusively from Samsung.
 12 Embedded Moments, Inc. v. Int’l Silver Co., 648 F. Supp. 187, 192 n. 3 (E.D.N.Y. 1986)
 13 (“Absent [the promise of exclusivity], the agreement is an indefinite quantities contract,
 14 where without more, the buyer’s promise is illusory and the contract unenforceable
 15 against the seller.”); Corning Inc. v. VWR Int’l, Inc., No. 05 CV 6532 CJS, 2007 WL
 16 841780, at *6 (W.D.N.Y. Mar. 16, 2007) (requirements contract is valid where buyer
 17 must purchase its requirements of product exclusively from seller up to a certain
 18 quantity); CSL Behring, LLC v. Bayer Healthcare, LLC, 2019 WL 4451368 at *2 (D. Del.
 19 Sep. 17, 2019) (exclusivity required under New York law).
 20         Given the express language in Section 6.4 disclaiming any obligation to purchase
 21 any amount of product at all, the Court may not imply terms necessary to render the
 22 contract as an enforceable requirements contract. Contrast Edison Elec. v. Thacher, 229
 23 N.Y. 172, 176 (1920) (where the court implied terms based on the clear intent of the
 24 parties to form a requirements contract). Thus, the JDLA cannot be interpreted as a
 25 requirements contract to satisfy the missing quantity term.
 26                       c.      The JDLA Is Not A Valid Options Contract
 27         Nor can the JDLA be construed as a valid options contract; it lacks a necessary
 28 quantity term. It is true, as the Court noted, that an options contract does not

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  1 necessarily require exclusivity. However, that does not mean that an options contract is
  2 exempt from the rule that any sales contract must have a definite or ascertainable
  3 quantity term to create an enforceable obligation. See N.Y.U.C.C. § 2-311 (an option
  4 contract must still be “otherwise sufficiently definite”); Express Indus. & Terminal Corp.
  5 v. New York State Dep’t of Transp., 93 N.Y.2d 584, 590-91 (1999) (an option contract
  6 requires definiteness). While an option to buy “all” or “a stated minimum” of a buyer’s
  7 requirements could supply the requisite definiteness, no such quantity term is found in
  8 the JDLA. Heyman Cohen & Sons v. M. Lurie Woolen Co., 232 N.Y. 112, 115 (1921)
  9 (option contract not invalid for indefinite quantity term because “[t]he privilege to
 10 order more is coupled with the promise and obligation to accept a stated minimum”).
 11         The holding of the Seventh Circuit in Miller v. McLean Cnty. Unit Dist. No. 5 (In re
 12 Mod. Dairy of Champaign, Inc.), 171 F.3d 1106 (7th Cir. 1999), is not to the contrary. The
 13 court held in that case that given the absence of any evidence the schools were
 14 obligated to buy all of their milk requirements from the dairy, the dairy had no
 15 obligation to supply the schools’ requirements. Id., at 1110. While the court suggests in
 16 dicta that the schools could have argued the contracts were a buyer’s option, they did
 17 not do so. Id., at 1109. Thus, whether the contract was a valid buyer’s option was
 18 neither litigated nor adjudicated in that case.
 19         The opinion of New York’s Court of Appeals in Jarecki v. Shung Moo Louie, 95
 20 N.Y.2d 665 (2001), also is inapposite. Because that case involved a sublease with an
 21 option to purchase a single apartment at a stated price, there was no issue about a
 22 definite quantity. Id., at 667. Consistent with the case law governing sales contracts that
 23 require a definite quantity, a valid options contract still requires a specific quantity –
 24 which does not exist in the JDLA.
 25         C.     Samsung Reasonably Deducted Withholding Taxes From Payment
                   To Netlist And Cooperated With Netlist’s Efforts To Obtain A
 26                Refund
 27         Netlist’s second claim for breach of contract alleges Samsung improperly
 28 deducted withholding taxes from the fee paid to Netlist under Section 3.1, and failed to

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  1 cooperate with Netlist’s efforts to seek a refund from the Korean tax authorities.
  2 Neither contention is supported by evidence sufficient to withstand a Rule 56 motion.
  3 The JDLA provides Samsung may deduct applicable withholding taxes from payments
  4 due Netlist under the agreement, and that is what Samsung did. Section 3.1 sets forth
  5 Netlist’s $8 million “NRE fee.” SUF 17. Section 3.2 acknowledges Samsung may be
  6 required to deduct withholding taxes from this payment: “To the extent that any
  7 withholding taxes are required by applicable law for the payment set forth in this
  8 Agreement, Samsung may deduct any applicable withholding taxes due or
  9 payable under the laws of Korea . . . . SUF 68.
 10         In that regard, on November 5, 2015, shortly before the JDLA was signed,
 11 Samsung sent Netlist a tax form for Netlist to apply for a reduced tax rate as a foreign
 12 corporation. SUF 69. The form indicated that the tax rate on royalties pursuant to a
 13 treaty with the US was 16.5%. SUF 70. Sasaki reviewed the form, signed it, and
 14 returned it to Netlist after having consulted with tax professionals of Netlist’s choosing.
 15 SUF 71. As Netlist’s CFO, Sasaki had the authority to approve and sign the form, and
 16 consulted with a tax expert to ensure it was appropriate. SUF 72.
 17         Immediately after the JDLA was signed, Samsung made the contractually
 18 required cash payment to Netlist of $8 million, less 16.5% deducted for withholding
 19 taxes, and paid that amount to the tax authority. SUF 73. Samsung did so because it
 20 considered the $8 million as consideration for Netlist’s grant of patent licenses, and
 21 Korean law requires withholding of payments on such royalties.9 SUF 74.
 22         Second, Samsung did in fact cooperate with Netlist. What Samsung allegedly
 23 refused to do was “cooperate” the way (or how) Netlist wanted. Samsung had
 24 numerous communications with Netlist and PWC, Netlist’s tax consultant, shared
 25
 26
      9
       The Court correctly characterized Netlist’s theory as alleging that “the NRE fee was
    not properly taxable,” even if the withholding was lawful. (Dkt. 120 at 6.) But there is
 27 no evidence Samsung was not required to withhold taxes, even if such taxes ultimately
 28 were refunded.

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  1 drafts of what Samsung proposed to submit to the tax authorities, and even asked
  2 Netlist and PWC to propose language that they wanted Samsung to use. SUF 75. PWC
  3 even thanked Samsung for its cooperation, showing that cooperation is not what
  4 Netlist complains of here. SUF 76. What Netlist wanted was for Samsung to further
  5 Netlist’s economic interests and deny that the $8 million was for patent royalties. SUF
  6 77. Samsung had no contractual duty to provide such “cooperation” and could not do
  7 so based on its good faith belief.
  8          Third, Netlist suffered no injury from Samsung’s alleged failure to cooperate.
  9 Netlist won its tax appeal, and received a full refund plus interest. SUF 78. While
 10 Netlist did pay consultants and lawyers to obtain that result, there is no evidence that
 11 they would not have had to pay the same consultants’ and lawyers’ fees to obtain a
 12 refund even if Samsung had provided the kind of “cooperation” that Netlist wanted.
 13          D.     Netlist Is Barred From Recovering Consequential Damages
 14          The parties to the JDLA expressly waived any claim to consequential damages
 15 for breach of the JDLA. 10 There is no dispute Netlist seeks damages including lost
 16 revenues and lost profits from allegedly lost business opportunities with third party
 17 customers. SUF 80. Such claims of lost profits and lost revenues are consequential
 18 damages. Tractebel Energy Mktg., Inc. v. AEP Power Mktg., Inc., 487 F.3d 89, 109 (2d Cir.
 19 2007) (“Lost profits are consequential damages when, as a result of the breach, the
 20 non-breaching party suffers loss of profits on collateral business arrangements.”).
 21          Netlist’s claimed damages for lost revenues and lost profits are barred by Section
 22 12.5 of the JDLA. SUF 81. Such express waivers of consequential damages are
 23 enforceable under New York law. International Gateway Exchange, LLC v. Western Union
 24   10
        The Court denied Samsung’s motion for judgment on the pleadings on this issue,
 25 stating that a Rule 12 “motion is not the proper vehicle for seeking adjudication of this
 26 issue.” (DE 120 at 5.) Summary judgment is the proper vehicle for the Court to decide
    this issue. United States, for the Use of Integrated Energy, LLC v. Siemens Gov’t Techs., Inc., No.
 27 SACV1501534JVSDFMX, 2017 WL 10562969, at *5-6 (C.D. Cal. May 19, 2017)
 28 (partial summary judgment as to consequential damages barred by contractual waiver).

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  1 Financial Services, Inc., 333 F. Supp. 2d 131, 149 (S.D.N.Y. 2004). This is particularly true
  2 where the contract is between sophisticated businesses, removing any potential concern
  3 about the waiver being unconscionable. Scott v. Palermo, 233 A.D.2d 869, 872 (1998).
  4         There is no evidence of the kind of wrongful conduct that would be necessary
  5 for Netlist to avoid the consequences of this waiver. This would require evidence of
  6 “truly culpable, harmful conduct, not merely intentional nonperformance of the
  7 Agreement motivated by financial self-interest.” Metro. Life Ins. Co. v. Noble Lowndes Int’l,
  8 Inc., 84 N.Y.2d 430, 438–39 (1994); Sommer v. Federal Signal Corp., 79 N.Y.2d 540, 554
  9 (1992) (conduct necessary “to pierce an agreed-upon limitation of liability in a
 10 commercial contract, must ‘smack[ ] of intentional wrongdoing.’”). Thus, the Court
 11 should grant partial summary judgment as to the issue of consequential damages.
 12         E.     Netlist Has No Right To Terminate the JDLA
 13         Netlist seeks a declaration the JDLA be terminated based on the alleged
 14 breaches, but the undisputed facts show there was no supply obligation as alleged by
 15 Netlist and therefore no material breach of the JDLA. And Samsung supplied NAND
 16 and DRAM to Netlist every year following the JDLA. Netlist also received a full refund
 17 with interest, so the tax withholding claim could not possibly constitute a material
 18 breach. Septembertide Publ’g, B.V. v. Stein & Day, Inc., 884 F.2d 675, 678 (2d Cir. 1989)
 19 (for a breach to be material, it must “go to the root of the agreement between the
 20 parties.”) Samsung is entitled to summary judgment on the declaratory relief claim.
 21                1.       Netlist Waived Any Right To Terminate The JDLA
 22         Netlist long ago waived any right to terminate the contract based on its claims.11
 23 Dun & Bradstreet Corp. v. Harpercollins Publishers, Inc., 872 F. Supp. 103, 110 (S.D.N.Y.
 24 1995) (termination on the basis of material breaches “must be sought promptly” or it is
 25 deemed waived). Netlist executives internally discussed whether to provide notice of
 26
 27    The Court’s ruling on the MJOP addressed the election of remedies defense but not
      11


 28 the separate defense of waiver. (DE 120 at 7.)

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  1 breach over the tax withholding dispute in March 4, 2016, but decided not to send a
  2 breach notice because it wanted to reap the benefits of its business relationship with
  3 Samsung. SUF 84. And as to the supply claim, Netlist asserts that “starting as early as
  4 the second quarter of 2017, Samsung began to refuse and/or cancel orders from
  5 Netlist. SUF 85. Instead, Netlist waited to provide notice of alleged breach until May
  6 27, 2020, more than four years after it first considered doing so. SUF 86. Not
  7 coincidentally, the $15 million note is due December 31, 2021. SUF 87.
  8         While the JDLA includes a “no waiver” clause, even broad “no waiver” clauses
  9 may themselves be waived if circumstances warrant, as they do here. Lee v. Wright, 108
 10 A.D.2d 678, 680, 485 N.Y.S.2d 543, 544 (1985) (“Contrary to its conclusion that the
 11 non-waiver clause in the lease precluded any finding of waiver, it has long been the rule
 12 that parties may waive a “no-waiver” clause.”). Netlist intentionally delayed suing for
 13 years, all the while benefiting from its business relationship with Samsung.
 14         Netlist cannot have it both ways. Either the alleged breaches were not material
 15 and there is no right to terminate. Or if there were a material breach, then Netlist
 16 waived its claim by acquiescing in the alleged breaches since early 2016 (as to the tax
 17 withholding claim) and the first half of 2017 (as to the supply claim). Whether based on
 18 waiver (or other concepts such as laches or election of remedies), that is far too long
 19 for Netlist to have sat on its rights before trying to terminate the contract.
 20 III.    CONCLUSION
 21         For all these reasons, Samsung respectfully requests that the Court grant it
 22 summary judgment or, in the alternative, partial summary judgment.
 23 DATED: October 21, 2021                    Bird, Marella, Boxer, Wolpert, Nessim,
                                               Drooks, Lincenberg & Rhow, P.C.
 24
 25                                            By:
                                                                 Ekwan E. Rhow
 26                                                  Attorneys for Defendant Samsung
 27                                                  Electronics Co., Ltd.
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